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                                                                         •••a:; uiV'
                 IN THE UNITED STATES DISTRICT COURT


                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                         ^       |:53

                            SAVANNAH DIVISION
                                                                             CF GA.

THE UNITED STATES OF AMERICA,

                Plaintiff,

                 V.                               4:19CR66


STEVEN CRONK,

                Defendant.




                                 ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all
matters   raised in the      parties' motions       have   been resolved         by

agreement.     Therefore,    a   hearing     in    this      case   is    deemed

unnecessary.    All motions are dismissed.



     SO ORDERED, this u/f^ day of July, 2019.

                                  CHRISTOPf
                                  UNITED STATES MAGISTRATE JUDGE
                                  SOUTHERN    DISTRICT OF GEORGIA
